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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Benjamin Carlson,                                 Case No. 23-CV-00577 JRT/ECW

                   Plaintiff,

        v.
                                                            ORDER
University of Northwestern – St. Paul,

Jeff Snyder, in his individual and official
capacity as Dean of Student Life of
University of Northwestern – St. Paul,

 Brian Sherrer, in his individual and
 official capacity as campus security
 officer at University of Northwestern – St.
 Paul,

 The City of Roseville, and John Does #1,
 #2, and #3, in their individual and official
 capacities as City of Roseville police
 officers,

                   Defendants.



       This case is before the Court on the Stipulation Extending Time for Defendants to

Answer or Otherwise Respond to the Complaint. Having considered the Stipulation, IT

IS ORDERED that the Defendants shall have until and including July 11, 2023, to

answer or otherwise respond to the Complaint.




Dated: __June 26, 2023          ___________s/Elizabeth Cowan Wright _______________
                                           ELIZABETH COWAN WRIGHT
                                           United States Magistrate Judge
